Case 1:15-cv-00373-SLR Document 20-2 Filed 07/02/15 Page 1 of 39 PageID #: 1817




                       Exhibit 1
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 2 of
                                                          Page  1 39 PageID #: 1818
                                                                  of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 3 of
                                                          Page  2 39 PageID #: 1819
                                                                  of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 4 of
                                                          Page  3 39 PageID #: 1820
                                                                  of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 5 of
                                                          Page  4 39 PageID #: 1821
                                                                  of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 6 of
                                                          Page  5 39 PageID #: 1822
                                                                  of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 7 of
                                                          Page  6 39 PageID #: 1823
                                                                  of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 8 of
                                                          Page  7 39 PageID #: 1824
                                                                  of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 9 of
                                                          Page  8 39 PageID #: 1825
                                                                  of 38
Case 1:15-cv-00373-SLR  DocumentDoc
             Case 14-50971-CSS  20-265Filed 07/02/15
                                         Filed 05/01/15Page 10 of
                                                         Page     3938
                                                               9 of  PageID #: 1826
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 11 10
                                                          Page  of 39 PageID #: 1827
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 12 11
                                                          Page  of 39 PageID #: 1828
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 13 12
                                                          Page  of 39 PageID #: 1829
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 14 13
                                                          Page  of 39 PageID #: 1830
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 15 14
                                                          Page  of 39 PageID #: 1831
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 16 15
                                                          Page  of 39 PageID #: 1832
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 17 16
                                                          Page  of 39 PageID #: 1833
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 18 17
                                                          Page  of 39 PageID #: 1834
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 19 18
                                                          Page  of 39 PageID #: 1835
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 20 19
                                                          Page  of 39 PageID #: 1836
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 21 20
                                                          Page  of 39 PageID #: 1837
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 22 21
                                                          Page  of 39 PageID #: 1838
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 23 22
                                                          Page  of 39 PageID #: 1839
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 24 23
                                                          Page  of 39 PageID #: 1840
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 25 24
                                                          Page  of 39 PageID #: 1841
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 26 25
                                                          Page  of 39 PageID #: 1842
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 27 26
                                                          Page  of 39 PageID #: 1843
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 28 27
                                                          Page  of 39 PageID #: 1844
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 29 28
                                                          Page  of 39 PageID #: 1845
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 30 29
                                                          Page  of 39 PageID #: 1846
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 31 30
                                                          Page  of 39 PageID #: 1847
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 32 31
                                                          Page  of 39 PageID #: 1848
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 33 32
                                                          Page  of 39 PageID #: 1849
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 34 33
                                                          Page  of 39 PageID #: 1850
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 35 34
                                                          Page  of 39 PageID #: 1851
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 36 35
                                                          Page  of 39 PageID #: 1852
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 37 36
                                                          Page  of 39 PageID #: 1853
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 38 37
                                                          Page  of 39 PageID #: 1854
                                                                   of 38
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 14-50971-CSS    20-2
                                     65 Filed 07/02/15
                                          Filed 05/01/15Page 39 38
                                                          Page  of 39 PageID #: 1855
                                                                   of 38
